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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            CASE NO. 1:08-cr-00025-SPM-AK

ERIC HARRIS,

       Defendant.

_____________________________/

                                            ORDER

       This matter is before the Court on a housekeeping issue. In its order granting Mr. Harris’

Motion to Suppress, Doc. 142, this Court made use of its recollection of testimony from the

suppression hearing, assisted by an unofficial rough draft of the transcript. The order referenced

speakers and page numbers from the rough draft. Since then, the court reporter has certified an

official copy of the transcript from that hearing. The order was written before the certified copy

was available, and was based on the recollections of the Court. Therefore, some of the words or

punctuation are not exactly the same in the order as they are in the certified transcript. The

official, certified copy is the true and correct account of the hearing. The changes to the page

citations are as follows:

       Footnote One refers to testimony now on pages 27-28.

       Footnote Three refers to testimony now on page 25.

       Footnote Four refers to testimony now on page 26.

       Footnote Five refers to testimony now on pages 24-25.

       Footnote Six, question one, refers to testimony now on page 28.
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        Footnote Six, question two, refers to testimony now on pages 26-27.

        Footnote Seven refers to testimony now on pages 80-81.

        Footnote Eight refers to testimony now on page 32.

        Footnote Nine refers to testimony now on page 33.

        Footnote Ten refers to testimony now on page 41.

        Footnote Eleven refers to testimony now on page 83.


        DONE AND ORDERED this           2nd day of October, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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